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 1                   IN THE UNITED STATES DISTRICT COURT

 2                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,          ) Case No.    CR.S-08-0420 EJG

 5                                      )

 6                   Plaintiff,         )

 7        v.                            )

 8                                      ) ORDER TO

 9   Ivan Jimenez et al.,               ) CONTINUE STATUS CONFERENCE

10                                      )

11                   Defendants.        )

12   _______________________________ )

13                                      )

14

15        GOOD CAUSE APPEARING, it is hereby ordered that the October

16   3, 2008 status conference be continued to November 14, 2008 at

17   10:00 a.m.   I find that the ends of justice warrant an exclusion

18   of time and that the defendant’s need for continuity of counsel

19   and reasonable time for effective preparation, exceeds the public

20   interest in a trial within 70 days.      THEREFORE IT IS FURTHER

21   ORDERED that time be excluded pursuant to 18 U.S.C. §

22   3161(h)(8)(B)(iv) and Local Code T4 from the date of this order

23   to November 14, 2008.

24

25   IT IS SO ORDERED.

26   Dated: Oct. 2, 2008              /s/ Edward J. Garcia
                                      Edward J. Garcia
27                                    United States District Judge

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